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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

WILLIAM RUSSELL,                              :
                                              :
       Plaintiff,                             :   Civil Action Number:
                                              :
vs.                                           :   1:14-cv-00192-TCB
                                              :
FREESE II, INC. and DAVID L.                  :
WHORTON,                                      :
                                              :
       Defendants.                            :
                                              :

             JOINT MOTION FOR REVIEW AND APPROVAL
             OF SETTLEMENT AND RELEASE AGREEMENT

      Plaintiff William Russell (“Plaintiff”) and Defendants Freese II, Inc. and

David L. Whorton (“Defendants”), by and through the undersigned counsel, move

this Court for a review and approval of their Settlement Agreement and Release of

Claims. As grounds for this Motion, the Parties show the Court as follows:

                                     1.

      Plaintiff filed his Complaint [Dkt. 1] on January 22, 2014, alleging

violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et seq.

                                     2.

      Based upon the understandings and assessments of each party, the Parties,

acting at arms length and in good faith and with the advice of counsel, have



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negotiated and entered into a Confidential Settlement Agreement and General

Release (hereafter “the Agreement”).

                                         3.

       The Parties represent that the terms set forth in the Agreement represent a

compromise between the positions of the parties and that the amount of money

allotted to back pay is a fair approximation of Plaintiff’s potential recovery if he

prevailed at trial.

                                         4.

       Pursuant to Lynn’s Food Stores, Inc. v. United States of Am., 679 F.2d

1350, 1353 (11th Cir. 1982), judicial approval is required to give effect to

Plaintiff’s release of his FLSA claims, which is material to the Agreement.

                                         5.

       Once the Court approves the Agreement and all payments have been made

as set forth in Paragraph 1 of the Agreement, the Parties will file a Stipulation of

Dismissal of this case with prejudice.

                                         6.

       Because the Parties have agreed to keep the terms of the Agreement

confidential, the Parties will submit a copy of the Agreement directly to chambers

for the Court’s consideration, along with a courtesy copy of this Motion.




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                                       7.

      The Parties further request that the Court retain jurisdiction over this matter

until all payments have been made as set forth in Paragraph 1 of the Settlement

Agreement and incorporate the Agreement into its Order granting this Motion.

      WHEREFORE, the Parties respectfully request that this Court review and

approve their Settlement Agreement and Release. For the Court’s convenience, a

proposed Order granting this Motion is attached hereto as Attachment “A”.

      Respectfully submitted,


DELONG CALDWELL                             FORD & HARRISON LLP
BRIDGERS & FITZPATRICK,
LLC                                         s/ Bennet D. Alsher
                                            Bennet D. Alsher
s/ Kevin D. Fitzpatrick, Jr.                Georgia Bar No. 013682
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                              COUNSEL FOR DEFENDANTS




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                                            :
FREESE II, INC. and DAVID L.                :
WHORTON,                                    :
                                            :
       Defendants.                          :
                                            :


                       CERTIFICATE OF COUNSEL

      Pursuant to LR 7.1 NDGa, the undersigned counsel certifies that the within

and foregoing motion was prepared using Times New Roman (14 point), one of the

fonts and point selections approved by the Court in LR 5.1 C NDGa.


                                     s/ Charles R. Bridgers
                                     Charles R. Bridgers
                                     Georgia Bar No. 080791
                                     Counsel for Plaintiff




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                                               :
FREESE II, INC. and DAVID L.                   :
WHORTON,                                       :
                                               :
          Defendants.                          :
                                               :

                          CERTIFICATE OF SERVICE

      I hereby certify that on the date shown above, I electronically filed the

within and foregoing JOINT MOTION FOR REVIEW AND APPROVAL OF

SETTLEMENT AND RELEASE AGREEMENT using the CM/ECF system,

which will automatically send email notification of such filing to all counsel of

record.

      Respectfully submitted,

                                       s/ Charles R. Bridgers
                                       Charles R. Bridgers
                                       Georgia Bar No. 080791




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